Case: 23-60503           Document: 47-1         Page: 1      Date Filed: 08/27/2024




          United States Court of Appeals
               for the Fifth Circuit                                        United States Court of Appeals
                                                                                     Fifth Circuit
                                  ____________
                                                                                   FILED
                                   No. 23-60503                              August 27, 2024
                                  ____________                                Lyle W. Cayce
                                                                                   Clerk
Arlex Fernando Zelaya Rubio,

                                                                              Petitioner,

                                         versus

Merrick Garland, U.S. Attorney General,

                                                                            Respondent.
                  ______________________________

                     Petition for Review of an Order of the
                         Board of Immigration Appeals
                           Agency No. A200 221 342
                  ______________________________

Before Ho, Duncan, and Oldham, Circuit Judges.
Per Curiam: *
      Arlex Fernando Zelaya Rubio, a citizen of Honduras, petitions for
review of a decision of the Board of Immigration Appeals dismissing his
appeal from the immigration judge’s denial of asylum, withholding of
removal, and protection under the Convention Against Torture. In his
application, Zelaya Rubio expressed a fear that if he were returned to
Honduras, he would be tortured by the squatters that killed his father,

      _____________________
      *
          This opinion is not designated for publication. See 5th Cir. R. 47.5.
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                                  No. 23-60503


because he was a family member of his father. Because Zelaya Rubio fails to
provide adequate evidence of the requisite nexus between his familial ties and
future persecution, we deny this petition.
       This court reviews the BIA’s decision and considers the IJ’s decision
only to the extent it influenced the BIA. Vazquez-Guerra v. Garland, 7 F.4th
265, 268 (5th Cir. 2021). Questions of law are reviewed de novo. Id. The
BIA’s factual determination that an individual is not eligible for asylum,
withholding of removal, or CAT protection is reviewed under the substantial
evidence standard. Chen v. Gonzales, 470 F.3d 1131, 1134 (5th Cir. 2006).
Under that standard, the petitioner has the burden of showing that “the
evidence is so compelling that no reasonable factfinder could reach a contrary
conclusion.” Ramirez-Mejia v. Lynch, 794 F.3d 485, 489 (5th Cir. 2015)
(internal quotations omitted).
       Zelaya Rubio argues that the BIA erred in finding that he had failed to
show the requisite nexus between the feared persecution and the protected
ground. See Gonzales-Veliz v. Barr, 938 F.3d 219, 224 (5th Cir. 2019);
8 U.S.C. § 1158(b)(1)(B)(i).      He asserts that his credible testimony
established that his membership in a particular social group consisting of his
father’s family members was “one central reason” for the harm he suffered
in Honduras, as he would not have been persecuted or been subject to future
persecution but for his relationship to his father.
       We find that the BIA correctly rejected this argument. The squatters
who killed Zelaya Rubio’s father and later shot Zelaya Rubio were largely
motivated by a desire to obtain land that had belonged to his father. See
Vazquez-Guerra, 7 F.4th at 270 (“Threats or attacks motivated by criminal
intentions do not provide a basis for protection.”). Furthermore, the BIA
correctly observed that there was no evidence that any of his father’s relatives
who lived or had lived in Honduras—including Zelaya Rubio’s two sons,




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                                 No. 23-60503


sister, and younger brother—had ever been harmed by the squatters
following the murder of Zelaya Rubio’s father. See Ramirez-Mejia, 794 F.3d
at 493 (finding no persecution on account of family status where “other
members of [the petitioner’s] family, who have remained in [the petitioner’s
native country], have not faced persecution on the basis of their membership
in the family”).
       In sum, Zelaya Rubio has not shown that the evidence compels the
conclusion that the BIA erred in finding that there was no nexus between his
feared future persecution and his membership in a PSG consisting of his
father’s family members, which is fatal to his claim for asylum and
withholding of removal. See Gonzalez-Veliz, 938 F.3d at 224−25; Chen, 470
F.3d at 1134. Because the issue of nexus is dispositive here, we do not reach
his additional arguments concerning asylum and withholding of removal. See
INS v. Bagamasbad, 429 U.S. 24, 25 (1976) (“As a general rule courts and
agencies are not required to make findings on issues the decision of which is
unnecessary to the results they reach.”).
       As for Zelaya Rubio’s claim for protection under the CAT, the BIA
correctly determined that his assertion that Honduran authorities failed to
protect him and his father despite their requests was not supported by the
record. And our court has previously said that “[g]eneralized country
evidence [says] little about the likelihood state actors will torture any
particular person.” Quorane v. Barr, 919 F.3d 904, 911 (5th Cir. 2019).
Accordingly, Zelaya Rubio has not shown that the evidence compels a
conclusion contrary to the BIA’s determination that he failed to establish his
right to protection under the CAT. See Tamara-Gomez v. Gonzales, 447 F.3d
343, 350−51 (5th Cir. 2006).
       For these reasons, we deny Zelaya Rubio’s petition for review.




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